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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,
           v.
                                                    Civil Action No. 2:15-cv-998
 NVIDIA CORPORATION

                         Defendant.
 .



                           ORDER GRANTING JOINT MOTION TO SET
                             ASIDE CLERK’S ENTRY OF DEFAULT

           Before the Court is the parties’ Joint Motion to Set Aside Clerk’s Entry of Default.

 Having considered the motion, the Court finds that it should be, and is hereby, GRANTED. The

 Clerk’s Entry of Default (Dkt. 83) is set aside. Defendant NVIDIA Corporation shall have until

 and including May 31, 2016 to answer or otherwise respond to Plaintiff Display Technologies,

 LLC’s Amended Complaint (Dkt. 9).
        SIGNED this 3rd day of January, 2012.
           SIGNED this 13th day of May, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE




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